             Case 1:21-cv-00532-SAG Document 91-3 Filed 08/27/21 Page 1 of 4
Exhibit C




CREDIT REPORT


BRYCE CARRASCO

Report Confirmation

0866447265
                   Case 1:21-cv-00532-SAG Document 91-3 Filed 08/27/21 Page 2 of 4




2.4 M & T BANK (CLOSED)

Summary

Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. It's
calculated by dividing an account's reported balance by its credit limit.

Account Number                                                            Reported Balance                                         $2,383

Account StatusNOT_MORE_THAN_FOUR_PAYMENTS_PAST_DUE                        Debt-to-Credit Ratio                                          68%

Available Credit                                           $3,500



Account History

The tables below show up to 2 years of the monthly balance, available credit, scheduled payment, date of last payment, high credit,
credit limit, amount past due, activity designator, and comments.

Balance

Year     Jan        Feb        Mar        Apr        May            Jun     Jul        Aug       Sep        Oct        Nov        Dec

2018

2019

2020


Available Credit

Year     Jan        Feb        Mar        Apr        May            Jun     Jul        Aug       Sep        Oct        Nov        Dec

2018

2019

2020


Scheduled Payment

Year     Jan        Feb        Mar        Apr        May            Jun     Jul        Aug       Sep        Oct        Nov        Dec

2018

2019

2020


Actual Payment

Year     Jan        Feb        Mar        Apr        May            Jun     Jul        Aug       Sep        Oct        Nov        Dec




                                                     BRYCE CARRASCO | Dec 31, 2020                                           Page 13 of 30
                  Case 1:21-cv-00532-SAG Document 91-3 Filed 08/27/21 Page 3 of 4



2018

2019

2020


High Credit

Year    Jan        Feb       Mar        Apr         May         Jun     Jul         Aug     Sep          Oct         Nov        Dec

2018

2019

2020


Credit Limit

Year    Jan        Feb       Mar        Apr         May         Jun     Jul         Aug     Sep          Oct         Nov        Dec

2018

2019

2020


Amount Past Due

Year    Jan        Feb       Mar        Apr         May         Jun     Jul         Aug     Sep          Oct         Nov        Dec

2018

2019

2020


Activity Designator

Year    Jan        Feb       Mar        Apr         May         Jun     Jul         Aug      Sep         Oct         Nov         Dec

2018

2019

2020



Payment History

View up to 7 years of monthly payment history on this account. The numbers indicated in each month represent the number of days a
payment was past due; the letters indicate other account events, such as bankruptcy or collections.

           Year              Jan     Feb      Mar         Apr     May   Jun      Jul      Aug      Sep         Oct     Nov       Dec

          2020                                                                                                 30      60




                                                    BRYCE CARRASCO | Dec 31, 2020                                           Page 14 of 30
                        Case 1:21-cv-00532-SAG Document 91-3 Filed 08/27/21 Page 4 of 4



    Paid on Time              30 30 Days Past Due          60 60 Days Past Due        90 90 Days Past Due      120 120 Days Past Due

150 150 Days Past Due         180 180 Days Past Due         V Voluntary Surrender      F Foreclosure               C Collection Account

CO Charge-Off                 B Included in Bankruptcy     R Repossession             TN Too New to Rate              No Data Available



Account Details

View detailed information about this account. Contact the creditor or lender if you have any questions about it.

High Credit                                                  $2,383         Owner                                                INDIVIDUAL

Credit Limit                                                 $3,500         Account Type                                         REVOLVING

Terms Frequency                                          MONTHLY            Term Duration                                                   0

Balance                                                      $2,383         Date Opened                                           Jul 17, 2020

Amount Past Due                                                $172         Date Reported                                        Dec 17, 2020

Actual Payment Amount                                                       Date of Last Payment

Date of Last Activity                                                       Scheduled Payment Amount                                      $59

Months Reviewed                                                   4         Delinquency First Reported

Activity Designator                                        CLOSED           Creditor Classification                               UNKNOWN

Deferred Payment Start Date                                                 Charge Off Amount

Balloon Payment Date                                                        Balloon Payment Amount

Loan Type                                                Credit Card        Date Closed                                          Nov 01, 2020

Date of First Delinquency                             Oct 01, 2020

Comments                                                                              Contact

Account closed by credit grantor                                                      M & T BANK
                                                                                      1 FOUNTAIN PLAZA 4TH FLOOR
                                                                                      BUFFALO, NY 14203




                                                         BRYCE CARRASCO | Dec 31, 2020                                           Page 15 of 30
